Case 3:20-cv-12827-MAS-DEA Document 12 Filed 12/03/20 Page 1 of 3 PageID: 412




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW            JEJ.fvC'E IVE D
MICHAEL PATRICK SIANO                                          ZuZO DEC -2 p         IJ..:   03
                    Plaintiff Corporate Entity,                  ~Is-    -
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                                                                 \. ..., i.,   C°('R
                                                                               :d tlfJ
                                                                                     PJ

                                                  Civil Action No.:3:20-cv-12827-MAS-DEA

       V.


M&T BANK, PARKER McCAY P.A. LAW                   NOTICE OF OBJECTION TO LETTER

OFFICES et al, and all Unknown Parties,                  FROM JAMES P. BERG

                     Defendants.


  PLEASE TAKE NOTICE that upon receiving from Counsel of Defendant M&T BANK
LETTER FROM JAMES P. BERG, I MICHAEL PATRICK SIANO object before the
Honorable Michael A. Shipp, United States District Judge for the DISTRICT OF NEW JERSEY
at the Clarkson S. Fisher Building and U.S. District Courthouse located at 402 East State Street,
Trenton, New Jersey, 08608.
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 December I, 2020

 Hon. Michael A. Shipp, U.S.D.J.

 United States District Court - District ofNew Jersey

 402 East State Street - Courtroom 5W

Trenton, New Jersey




    Re: Michael Patrick Siano v. M&T Bank, et al. Civil Action No.: 3:20-cv-12827-MAS-DEA



Dear Honorable Judge Shipp,

         I respectfully ask the Court to not prejudice my Objection. Michael Patrick Siano is a pro se
litigant and without the resources of a sophisticated law firm as my simple error of filing two days late
portrays. The record shows that on November 25, 2020 the objection to the Defendants motion was
stamped received and placed into the filing box for the Clerk of Court as I do not have the means to file
electronically yet, however due to the holiday it was not officially filed into the record until November
30, 2020. This is a circumstance in which is clearly out of my hands and meant no trespass against court
rules. As stated herein I am a pro se and my simple mixed up was in reading federal rule 12 and believing
I had 21 days from day of service. November 25 th 2020 seemed within the scope as I received via mail the
Defendants motion on November 7, 2020. I respectfully ask this Honorable Court to allow me the wiggle
room of the two days as prose litigants are held to less stringent standards. Haines v. Kerner 404 U.S.
519 (1972)




                                                        Respectfully~£------
                                                         Michael P. Siano

                                                          (732) 788-0772

                                                          Mikee l 987@yahoo.com
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                                 CERTIFICATE OF SERVICE


 I, Michael Patrick Siano, do hereby certify that a true copy of the foregoing Objection, and this
 certification has been served upon by placing same in the U.S. Mail, properly addressed to as
 follows:




PARKER IBRAHIM & BERG LLP                                   Andrew Sayle&

270 Davidson Avenue                                         Connell Foley LLP
                                                            56 Livingston
Somerset, Nj 08873                                          Avenue I Roseland, NJ 07068




                                             Michael Patrick Siano




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